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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


IN RE:                                                   Case No.: 23-10480-PGH
Mary Delores Thomas Baxter                               Chapter 13
aka Mary Delores Baxter                                  Judge: Paul G. Hyman, Jr.
                Debtor(s).                    /



                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         COMES NOW Seth Greenhill, Esq. of the law firm of Padgett Law Group, and gives

this Notice of Appearance on behalf of Axiom Financial and requests that they be noticed on all

pleadings, documents and hearings; that they receive copies of all documents; and be added to

the matrix to be served at the addresses below:

Padgett Law Group
6267 Old Water Oak Road, Suite 203
Tallahassee, FL 32312

         DATED this the 1st day of February 2023



                                             Respectfully submitted,

                                             /S/ Seth Greenhill
                                             SETH GREENHILL, ESQ.
                                             Florida Bar # 97938
                                             PADGETT LAW GROUP
                                             6267 Old Water Oak Road, Suite 203
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                                             Seth.Greenhill@padgettlawgroup.com
                                             Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

to the parties on the attached Service List by electronic notice and/or by First Class U.S. Mail on

this the 1st day of February 2023:



                                             /S/ Seth Greenhill
                                             SETH GREENHILL, ESQ.
                                             Florida Bar # 97938
                                             PADGETT LAW GROUP
                                             6267 Old Water Oak Road, Suite 203
                                             Tallahassee, FL 32312
                                             (850) 422-2520 (telephone)
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                                             Seth.Greenhill@padgettlawgroup.com
                                             Attorney for Creditor
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                           SERVICE LIST (CASE NO. 23-10480-PGH)

Debtor
Mary Delores Thomas Baxter
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aka Mary Delores Baxter

Attorney for Debtor
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Jose A. Blanco, P.A.
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Trustee
Nancy K. Neidich
POB 279806
Miramar, FL 33027

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
